Case 5:17-CV;OOO48-PGB-PRL Document 1 Filed 02/08/17 Page 1 of 8 Page|D 1

IN THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

CATHERINE RAMO,
Plaimiff, cAsE No.; 5 /7'€4// ¢!f-/Ue,- 40 ¢>f&c
§§ §
vs. m§_§ -`,.,'
"’ rr1
?1;,‘5 === 'n
STATE FARM MUTUAL F~JG 0lo P
AUToMoBILE INsURANCE §§;; m
COMPANY, a foreign corporation, "EB_?_‘); § c
2320 ~.'9
Defendant. §§ §§

/

 

DEFENDANT-STATE FARM’S NOTICE OF REMOVAL

Defendant, STATE FARM MUTUAL AUTOMOBILE INSURANCE
COMPANY (“State Farm”), files this Notice of Removal of the above-styled cause
pursuant to 28 U.S.C. §1332 and § 1446, from the Circuit Court of the Fiith Judicial
Circuit in and for Lake County, Florida, in which this action is pending, to the United
States District Court, Middle District of Florida, and show unto this Court the following:

1. Plaintiff, CATHERINE RAMO (“Rarno”), originally filed an action for
damages in the Circuit Court of the Fifth Judicial Circuit in and for Lake County, Florida,
Case No. 2017-CA-000013 on January 3, 2017.

2. Ramo alleges that she Was involved in a motor vehicle accident that
occurred on July 9, 2014, involving an uninsured/underinsured motorist. As a result,
Ramo contends that she is entitled to recover against State Farrn, an Illinois company that

provided Uninsuredenderinsured coverage pursuant to Policy No. C06 9540-E03-59J.

 

51708/170131FedRemo\/al Page 1
59-4063-387 Jeaneen Hicks
217/2017 4:54 PM

Case 5:17-cV-OOO48-PGB-PRL Document 1 Filed 02/08/17 Page 2 of 8 Page|D 2

Ramo’s action constitutes a direct action against State F arm and is thus subject to
removal.

3. Written notice of the filing of this Notice of Removal, has been given to
Ramo through her attorney of record, Daniel E. Smith II, Esq., 730 Vassar St., Orlando,
FL, 32804 on this day.

4. A copy of this Notice of Removal will be filed with the Clerk of the
Circuit Court of the Fifth Judicial Circuit in and for Lake County, Florida.

5. State Farm files with this Notice of Removal true and correct copies of all
pleadings served and filed in the above-captioned state action. (See Composite Exhibit
¢cA”) f

6. This Notice of Removal is filed by State Farm within thirty (30) days of
Ramo effecting service of process upon State Farm’s Florida Resident Agent. Ramo’s
Complaint was filed on or about January, 3, 2017, and a copy of Ramo’s Complaint was
served upon State Farm on or about January 19, 2017.

7. Pursuant to 28 U.S.C. § 1332, this Court has jurisdiction over civil actions
When the matter in controversy exceeds the sum or value of $75,000.00 and is between
citizens of different states. This action is one in which this Court has original jurisdiction
since it involves a controversy exclusively between citizens of` different states and since
the matter in controversy exceeds the sum or value of $75,000, exclusive of interest and
costs. 28 U.S.C. §1332.

8. At the commencement of this action, and at the time of filing this Notice

of Removal, State Farm was and is an Illinois corporation existing under the laws of the

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51708/170131FedRemoval Page 2
59-4063-387 Jeaneen Hicks
2/7/2017 4;54 PM

 

Case 5:17-cV-OOO48-PGB-PRL Document 1 Filed 02/08/17 Page 3 of 8 Page|D 3

State of Illinois, having its principal place of business in Illinois, and is therefore a citizen
of the State of Illinois authorized to conduct business in the State of Florida.'

9. Upon information and belief`, Ramo is a resident and citizen of the State of
Florida.

10. As a result of Ramo being a citizen of the State of Florida and State Farm
being a citizen of the State of Illinois, there is complete diversity of citizenship between
all parties.

ll. There are no other parties, Defendants or otherwise, in this action.

12. Ramo’s Complaint filed in state court and first served on State Fann on
January 19, 2017, alleges damages in excess of` 315,000.00. Ramo’s complaint further
alleges complaint further alleges that the at-fault driver2 was an uninsured and/or
underinsured motorist3, thus triggering Ramo’s State Farrn UM/UIl\/I policy of insurance.

13. In addition, Ramo, through her counsel of record, filed a Civil Remedy
Notice4 of insurer violation with the Florida Department of Financial Services claiming
that State committed a violation by failing to settle the $250,000 in UM/UIM coverage
Ramo carries $250,000 per person per accident in policy limits with State Farrn, and
currently has over $130,000 in gross medical bills after having undergone a hip

replacement surgery that she alleges is causally related to the accident Theref`ore, it can

 

' See printout from Florida Department of State, Division of` Corporations reflecting that State Farm was
organized under the laws of the State of lllinois and is authorized to do business in the State of Florida. See
Exhibit “B”.

2 Whi|e not names in Ramo’s Complaint, the at-fau|t driver is one Margaret Anne O’Keefe (“O’Keefe”)

3 O’Keefe carried a 315,000 policy ofinsurance for bodily injury coverage

“ see civil Remedzes Notice Exhibit “”.c

51708/170131FedRemoval Page 3
59-4063-387 Jeaneen Hicks
217/2017 4:54 PM

Case 5:17-cv-OOO48-PGB-PRL Document 1 Filed 02/08/17 Page 4 of 8 Page|D 4

be ascertained that the case meets the requisite amount in controversy of $75,000.00 and
the case is removable under 28 U.S.C. §l446(b) and § 1332(a).
14. As additional support for the removal of the case regarding the amount in
controversy,5 State F arm would show that:
(A) Ramo claims that the accident caused injuries, including a hip
replacement surgery, that are alleged to be permanent in nature.
(B) Ramo is also alleging neck injuries, back injuries, anterolisthesis of C4
over C5 and C6, and annular bulging.
(C) Ramo is alleging both economic and non-economic damages (i.e., pain
and suffering) as a result of the accident
(D) Ramo is alleging that approximately $131,0006 in past gross medical
bills are related to the accident, and that she will have the need to
continued and ongoing future treatment
15. In paragraph 7 of Ramo’s complaint, her injuries are described, as follows:
[A]s a direct and proximate result of the Underinsured’s
negligence, Plaintiff was injured in and about her body and
extremities, suffered pain there from, insured medical
treatment for such injuries, suffered physical handicap,
disability and lost wages, disfigurement, mental anguish,
loss of capacity for the enjoyment of life, and aggravation
of previously existing conditions. One or more of his

injuries or disabilities, are either permanent or continuing
in their nature within reasonable medical probability. The

 

5 State Farm disagrees that the case is “worth” $75,000 and certainly State Farm’s request to remove the
case to Federal Court is not an admission regarding value. Having said this, the request for removal is
premised on the fact that conceptually the case could potentially have a value in excess of $75,000 .

6 This is the gross amount ofthe bills. There is an offset of$l 5,000 for Ramo’s PIP and MPC, and 315,000
for O’Keefe’s BI settlement While Ramo is also a Medicare recipient, the information State Farm currently

has in its possession indicates that treatment Ramo underwent was not billed to her Medicare.

51708/170131FedRemova| Page 4
59-4063-387 Jeaneen Hicks
2/7/2017 4:54 PM

Case 5:17-cv-OOO48-PGB-PRL Document 1 Filed 02/08/17 Page 5 of 8 Page|D 5

Plaintiff will suffer from such losses and impairment in the
future.

16. Based on the nature of the injuries, the hip replacement surgery that Ramo
alleges is causally related to the accident, and the current amount of the alleged past
medical bills, it is conceivable for federal removal purposes (although State Farm
disputes the value of the claim) that a jury could render a GROSS verdict in excess of
$75,000.

17. In addition, federal courts have found that evidence of total past medical
bills and a demand7 by a Plaintiff for a settlement in an amount more than $75,000
constitutes sufficient evidence to show, by a preponderance of the evidence, that the
amount in controversy meets the jurisdictional requirements8

18. In May 22, 2013, a Federal Middle District of Florida jury awarded a
plaintiff, $269,460.00, where the plaintiffs personal injuries included a brain injury and a
right leg fracture requiring orthopedic surgery and physical, occupational and cognitive
therapy.9

19. In 2010, an Indian River County, FL jury awarded a plaintiff`, $460,000;
where the plaintiffs personal injuries included a torn right rotator cuff and a fracture of
the left femur as a result of the collision. He underwent surgery to his right shoulder, as

well as open reduction and internal fixation of the femur fracture. The plaintiff, age 53 at

 

7 ln addition to filing a CRN, Ramo served State Farm with two (2) Demand Lerters, one on February 16,
2015, and the second on September 23, 2015. Both letters demanded tender of the $250,000 UM/UIM
policies These letters are attached as Composite Exhibit “D”.

See Fischer v. State Farm Mut. Auto. [ns. Co., 2011WL573836 (S.D. Fla. Feb. 15, 20| l) and Bowen v.
State Farm Mut. Auto. lns. Co. 201 IWL1257470 (M.D. Fla. March 29, 2010).

9 see Fe/ker v. zamEani/, JvR No. 1307160024 (2013)

51708/170131FedRemoval Page 5
59-4063-387 Jeaneen Hicks
217/2017 4;54 PM

Case 5:17-cv-OOO48-PGB-PRL Document 1 Filed 02/08/17 Page 6 of 8 Page|D 6

the time of the collision, returned to his employment as a police officer following the
accident and did not make a claim for loss of future wages.'0
20. These jury verdicts which involve similar claims and/or medical bills

suggest (although State Farm disputes it) that Ramo’s claim could have a net verdict

value of $75,000 or more. Certainly, the Court can rely on its knowledge and

experience:

If a defendant alleges that removability is apparent from the
face of the complaint, the district court must evaluate
whether the complaint itself satisfies the defendant’s
jurisdictional burden. ln making this deterrnination, the
district court is not bound by the plaintiff"s representations
regarding its claim, nor must it assume that the plaintiff is
in the best position to evaluate the amount of damages
sought. Ia’. at 771. Indeed, in some cases, the defendant or
the court itself may be better-situated to accurately assess
the amount in controversy. See id. (explaining that
“sometimes the defendant’s evidence on the value of the
claims Will be even better than the plaintiffs evidence,”
and that a court may use its judgment to determine “which
party has better access to the relevant information.”).

Eleventh Circuit precedent permits district courts to make
“reasonable deductions, reasonable inferences, or other
reasonable extrapolations” from the pleadings to determine
whether it is facially apparent that a case is removable. See
id. at 754. Put simply, a district court need not “suspend
reality or shelve common sense in determining whether
the face of a complaint establishes the jurisdictional
amount.” See id. at 770 (quoting Roe v. Michelin N. Am.,
Inc., 637 F.Supp.2d 995, 999 (M.D.Ala.2009)); see also
Wz'lliams, 269 F.3d at 1319 (l lth Cir.2001) (allowing
district courts to consider whether it is “facially apparent”
from a complaint that the amount in controversy is met).
Instead, courts may use their judicial experience and
common sense in determining whether the case stated in a

 

m Plats v.Servicemasler Consumer Services, [nc., Et. Al., 21 Fla. J.V.R.A. 3:6, 2010 WL 9445839 (2010)
ll A point not lost on Plaintiff’s counsel having filed a Civil Remedies Notice.

51708/170131FedRemoval Page 6
59-4063-387 Jeaneen Hicks
2/7/2017 4;54 Plvl

Case 5:17-cv-OOO48-PGB-PRL Document 1 Filed 02/08/17 Page 7 of 8 Page|D 7

complaint meets federal jurisdictional requirements This
approach is consistent with those of other circuits. Roe v
Michelin North America, Inc., (613 F.3d 1058, 1061-62
(11‘h cir. 2010).'2

21. Based on the foregoing, State Farm submits that removal of this action is
authorized under 28 U.S.C. § 1332 and § 1441 because of diversity of citizenship and the
fact that there is at least $75,000 in controversy. See e.g., Myers v. State Farm Ins. Co.,
842 F.2d 705, 707 (3d Cir. 1988):

We begin by addressing Myers's claim that there is no
diversity of citizenship jurisdiction pursuant to the
provisions of 28 U.S.C. § 1332(0) (1982). As the district
court properly determined, this lawsuit is not a direct
action within the meaning of section ]332(€). Myers, as an
injured third party, brings this suit based on State Farm's
failure to settle [the UM claim] within the policy limits and
not, as contemplated by section 1332(c), as a result of State
Farm's status as “payor of a judgment based on the
negligence of one of its insureds.” Velez v. Crown Life Ins.
Co., 599 F.2d 471, 473 (lst Cir.l979); accord Fortson v.
St. Paul Fire & Marine Ins. Co., 751 F.2d 1157, 1159 (ilth
Cir.1985) (“unless the cause of action against the
insurance company is of such a nature that the liability
sought to be imposed could be imposed against the insured,
the action is not a direct action”); Beckham v. Safeco Ins.
Co. of Am., 691 F.2d 898, 901-02 (9th Cir.1982). State
Farm is incorporated and has its principal place of business
in the state of Illinois. It therefore is deemed a citizen of
that state for purposes of determining diversity. Since
Myers is a citizen of Pennsylvania, federal subject matter
jurisdiction exists over this action. (emphasis added).

 

12 See also Scott v. Home Depot U.S.A., Inc., 2012 WL 86986 (S.D. Fla. January l l, 2012) (“District courts
must make “reasonable deductions, reasonable inferences, or other reasonable extrapolations from the
pleading to determine whether it is facially apparent that a case is removable”...[and] may employ its own
judicial experience or common sense to discern whether a complaint establishes the jurisdictional amount

in controversy required for remova|”).

51708/170131Fednemoval Page 7
59-4063-387 Jeaneen Hicks
2/7/2017 4:54 PM

Case 5:17-cv-OOO48-PGB-PRL Document 1 Filed 02/08/17 Page 8 of 8 Page|D 8

WHEREFORE, State Farm respectfully requests this Honorable Court take

jurisdiction of this action, and that the removal of this cause to this Court be effectuated

CERTIFICATE OF SERVICE

   
  

IHEREBY CERTIFY that a true and correct copy of the foregoin le ding has
been sent by E-mail this February 1, 2017, to: DANIEL E.iSMITH, ESQ , 730 assar
St., Orlando, FL, 32804 (dansmith(a)covelaw.com; litigatioh@covesmith om).

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51708/170131FedRemova\ Page 8

59-4063-387 Jeaneen Hicks
2/7/2017 4:54 PN|

